825 F.2d 406Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lewis William CAPLEANER, Petitioner-Appellant,v.W. P. ROGERS, Warden, Respondent-Appellee.
    No. 87-7537
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1987.Decided July 29, 1987.
    
      Lewis William Capleaner, appellant pro se.
      Thomas Drummond Bagwell, Assistant Attorney General, for appellee.
      Before RUSSELL, MURNAGHAN and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, deny appointment of counsel, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Capleaner v. Rogers, C/A No. 86-495-AM (E.D. Va., Feb. 2, 1987).
    
    
      2
      DISMISSED.
    
    